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Case 2:90-cv-00520-KJM-SCR Document 3149-1

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IN THE UNITED STATES DISTRICT COURTS
FOR THE EASTERN DISTRICT OF CALIFORNIA

AND THE NORTHERN DISTRICT OF CALIFORNIA
UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES

RALPH COLEMAN, et al.,
Plaintiffs,

v5.

ARNOLD SCHWARZENEGGER, et al.,
Defendants

MARCIANO PLATA, et al.,
Plaintiffs,

V8.

ARNOLD SCHWARZENEGGER, et al.,
Defendants

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PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE

No. Civ $ 90-0520 LKK-JFM P
THREE-JUDGE COURT

No, CO01-1351 THE
THREE-JUDGE COURT

DECLARATION OF REBEKAH EVENSON
IN SUPPORT OF PLAINTIFFS’
OPPOSITION TO LAW ENFORCEMENT
INTERVENORS’ MIL NO. 1 (RE
TESTIMONY OF DR. AUSTIN)

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Case 2:90-cv-00520-KJM-SCR Document 3149-1 Filed 10/30/08 Page 2 of 47

I, Rebekah Evenson, declare:

1. I am a member of the Bar of this Court and an attorney at the Prison Law Office, one of
the counsel of record for the Plaintiff classes in this case. ] have personal knowledge of the matters set
forth herein and if called as a witness J could competently so testify. I make this declaration in support
of Plaintiffs’ Opposition to Law Enforcement Intervenors’ Motion in Limine No. I (re testimony of Dr.
Austin).

2, Attached hereto as Exhibit A is a true and correct copy of excerpts of the transcript of the
October 15, 2008 deposition of Dr. James Austin.

3. Dr. Austin was deposed in this matter on two separate days. First, he was deposed on
September 19, 2008 from approximately 10:00 a.m. to 5:45 p.m. Next, he was deposed on October 15,
2008 from approximately 11:20 a.m. to 5:30 p.m.

4, In advance of Dr. Austin’s September 19, 2008 deposition, my office produced
approximately two banker’s boxes full of documents, amounting to thousands of pages of documents.
Some of the documents produced were drafts of Dr. Austin’s expert reports. Despite the fact that Law
Enforcement Intervenors provided less than two weeks’ notice of Dr. Austin’s October 15, 2008
deposition, my office produced hundreds more pages of additional documents at Dr. Austin’s October
15, 2008 deposition. Those documents are attached as Exhibit 9 to the transcript of Dr. Austin’s
October 15, 2008 deposition (see Exhibit A at 310, Index). Additionally, two documents were not
available in hard copy, and plaintiffs’ counsel informed Law Enforcement Intervenors counsel of that
fact in advance, and provided information about how to obtain electronic copies. In all, plaintiffs have
produced all documents that Dr. Austin relied upon, considered or referred to in his reports, and all
communications between plaintiffs and Dr, Austin (with the exception of those communications relating
to settlement negotiations, per agreement between the parties, which are noted on a privilege log that has
not been challenged).

5. Attached hereto as Exhibit B is Plaintiffs’ Response to Law Enforcement Intervenors’

Evenson Decl. ISO Pitfs’ Opp to Law Ent. intevenors MIL No. |
Re Testimony of Dr, Austin
Case Nos, 90-00520; 01-1351 2

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Case 2:90-cv-00520-KJM-SCR Document 3149-1 Filed 10/30/08 Page 3 of 47

Amended Notice of Deposition of Dr. Austin and Request for Production of Documents,

6. Attached hereto as Exhibit C is a true and correct copy of the first page of Exhibit 9 (Dr.
Austin’s October 15, 2008 production of documents), which the Court Reporter’s notation at the bottom
comer indicates is more than 500 pages.

7. Attached hereto as Exhibit D is a true and correct copy of Exhibit 5 to the transcript of
Dr. Austin’s September 19, 2008 deposition.

I declare under penalty of perjury under the laws of California and the United States that the
foregoing is true and correct, and that this declaration is executed this 30 day of October 2008 in

Berkeley, California.

sf Rebekah Evenson

Rebekah Evenson

Evenson Decl. ISO Plitfs’ Opp to Law Enf. Intevenors MiL No. 1
Re Testimony of Dr. Austin
Case Nos, 90-00520; 01-1351 3

Case 2:90-cv-00520-KJM-SCR Document 3149-1 Filed 10/30/08 Page 4 of 47

EXHIBIT A
Case 2:90-cv-00520-KJM-SCR Document 3149-1 Filed 10/30/08 Page 5 of 47

IN THE UNITED STATES DISTRICT COURTS
FOR THE EASTERN DISTRICT OF CALIFORNTA
AND THE NORTHERN DISTRICT OF CALIFORNIA
UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES

PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE

RALPH COLEMAN, et al.,

Plaintiffs,

vs. No. CIV S-30-0520 LKK-JFM P

' ARNOLD SCHWARZENEGGER, et THREE-JUDGE COURT

al.,

Defendants.

MARCIANO PLATA, et al.,
Plaintiffs,
vs.
ARNOLD SCHWARZENEGGER, et

al.,
Defendants.

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VOLUME IT
DEPOSITION OF JAMES AUSTIN, Ph.D.,
BURBANK, CALIFORNIA
WEDNESDAY, OCTOBER 15, 2008
Reported By:

JULIE MEEHAN
CSR NO, 12341

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Case 2:90-cv-00520-KJM-SCR Document 3149-1 Filed 10/30/08 Page 6 of 47

1 INDEX
2 EXAMINATION BY: PAGE
3
MS. BARLOW 311, 503
4 .
MS.. JOHNSON 463
5
6
7 EXHIBITS
8
INTERVENER!S PAGE
9
9 Documents Produced by James Austin, Ph.D. 315
10
10 Supplemental Report of James Austin, Ph.D. 384
1
11 Charts of Reimprisonment Rates 463
12
12 Rough Draft Paper Written by Norman Holt 471
i3
i4
15
16
17
18
19
20
21
INFORMATION TO BE SUPPLIED BY THE DEPONENT:
22 (None)
23
QUESTIONS NOT ANSWERED ON ADVICE OF COUNSEL:
24 (None)
25

310

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Case 2:90-cv-00520-KJM-SCR Document 3149-1 Filed 10/30/08 Page 7 of 47

3 2 Have you reviewed the deposition transcripts

2 of either Jerry Dyer or Jerry Powers?

3 A No.

4 ° Did you communicate with counsel for the

5 plaintiffs regarding the contents of those depositions?
6 A No.

7 0 Did you communicate with counsel any

8 statements that either Jerry Dyer or Jerry Powers made

9 regarding your opinions in this case?

10 A No.
11 ° Okay. That was the follow up. Thank you,
12 ‘Let's talk briefly about these documents that

13 you brought here today.

14 MS. BARLOW: Are these in any particular order,
15 counsel?

16 MS. EVENSON: I think they should be in -- what
17 they are are the decuments that were requested in

18 addition. They're the’ e-mails between Dr. Austin and

19 myself and I think they should be in chronological

20 order.
2] MS. BARLOW: Okay.
2 MS. EVENSON: With the attachment attached to the

23 various e-mails pertaining.
24 MS. BARLOW: We'll just label these as one exhibit,

25 if you don't mind, and then I'll have the doctor go

314.

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1 through the documents provided and tell us what they are
2 and how they related to his opinion if at all.

3 MS. EVENSON: Sure.

4 MS. BARLOW: So these will be collectively

5 Exhibit 1 or do you want to start where we left of f on

6

the other deposition?

7 MS. EVENSON: Do we know?

8 MS. JOHNSON: I have the deposition. |

9 MS. BARLOW: De. you know what the last exhibit was?
10 MS. JOHNSON: Sure.

di MS. EVENSON:. It looks to me the last one was

12 Exhibit 8.

13 MS. BARLOW: So we'll call this Exhibit 9.

14 . (Intervener's Exhibit 9 was marked

15 for identification by the deposition

16 officer and is attached hereto. }

17 MS. EVENSON: Right.’

18 QO BY MS. BARLOW: Okay. If you could just tell

19 wus what each document is collectively marked as

20 | Exhibit 9 and then we'll talk about them individually.

21 A Okay. ‘The first document is a report that I
22 wrote with Ken McGinnis and it had to do with the

93 evaluation of the Texas Parole Board Guidelines. And in

94 particular look at Table 1c, which is a calculation of

25 the percent of crimes that were committed by parolees

315

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Case 2:90-cv-00520-KJM-SCR Document 3149-1 Filed 10/30/08 Page 9 of 47

QO Did you review any of the documents that were

produced at Jerry Dyer's deposition?

A No, all I have is Mr. Dyer's report.

oO Bre you familiar with studies that show that a

1990 prisoner self-report survey conducted in Wisconsin
showed that half the prisoners had committed 12 crimes
or more in the year prior to their incarceration
excluding drug crimes?

MS. EVENSON: Objection. Vague.

Qo BY MS. BARLOW: Are you familiar with that?

A Was that done by Mr. DiLulio, John DiLulio?

T'm aware of that report, but I haven't studied it.

Q You haven't reviewed that report?
A No.
Q You're familiar with an earlier report from

Rand that indicated that it's up to 15 crimes per, on
average, year prior to arrest?

A Right. That's the one we just referenced.
But again, the National Academy of Sciences did a
reanalysis of the data and lowered that estimate.

0 To what?

A I don't know, but I can get it for you if you
want to read it.

MS. JOHNSON: Do you know what year they did that

reanalysis?

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399
Case 2:90-cv-00520-KJM-SCR Document 3149-1 Filed 10/30/08 Page 10 of 47

1 THE DEPONENT: It's going to be probabiy the late

2 '80s or early ‘90s. The principal. editor is

3 Alfred Bloomstein and it's called incapacitation. There
4 is a whole volume on incapacitation. And the woman that
5 did the reanalysis is Kristi Vishy at the University of

6 Delaware.

7 Q BY MS. BARLOW: On what basis did you opine in
§ your rebuttal report that Mr. Dyer was in error when he

9 assumed that some of the people rearrested that would be
10 released early on a prison release order would commit up
11 to 12 crimes before being arrested?

13 MS. EVENSON: Objection. Vague.

13 THERE DEPONENT: Well, his estimate was 16,000 new

14 felony crimes.

15 9 BY MS. BARLOW: Based upon?.

16 A And he said that 70 percent of those would

17 commit 12 crimes before they are arrested, okay? So the
18 number one problem is he's not referencing where he's

19 getting his numbers, but I'm assuming he's getting them

20 from the Rand incapacitation numbers. And if he is,

21 | again, he has a problem that he's -- he's not

22 recognizing that most of the people in the Rand Study

33 were committing much smaller numbers and that's based on
24 their time coming into prison. Rand did not look at

25 self-reported crimes of people coming out of prison. So

400

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1 he's looking at a completely different experience.
2 The Rand Study is people coming to prison.
3 Mr. Dyer is talking -- we're talking about people coming

4 out of prison and there are no estimates of how many

5 crimes exprisoners commit in one year once they're

6 released from prison.

7 Q So it's your opinion -- strike that.

8 Are you aware of any studies that show that

9 people who have been released from prison commit fewer
10 crimes before they get reincarcerated than those who

lI were studied in the Rand Study or the Wisconsin study?
12 oA There's a great deal of information showing
13 that the number of arrests being produced by prisoners
14 one year before they come to prison is much higher than
15 the number of arrests when they get released. So they
16 are clearly getting rearrested at a much lower rate than
17 when they came to prison. So they're slowing down.

18 Q You have offered in your written report the
19 opinion that 50 percent of parolees will be rearrested

26 in the first 12 months after their release --

2] A That's right --

22 Q -- first six months --
23 A That's correct --

24 Q -- after their released.
25 A In California.

401

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Case 2:90-cv-00520-KJM-SCR Document 3149-1 Filed 10/30/08 Page 12 of 47

9 What percentage of prisoners --
A But you understand that I'm talking about the

rate the arrests. So if you look at --

Qo I'm not asking about the rate of arrest.
A I thought you were asking about --

Q TI was asking you about --

A -- their behavior and after.

9 I was asking you if you're aware of any

studies that quantifies for a prisoner after they are
released from prison how many crimes they commit before
they get rearrested?

A Oh, there are no studies that have done that
based on the Rand methodology and what Mr. Dyer is
saying -- that's what I'm saying, he has no basis for .
those statistics, they don't exist.

Q So do you have any basis to say that the
number of crimes committed by post-release prisoners
before they are rearrested and reincarcerated is lower
than those committed by people as studied in the Rand
and Wisconsin studies?

MS. EVENSON: Objection. Vague.

THE DEPONENT: yeah, I don't understand that
question.

Q BY MS. BARLOW: Let me put it to you this way

The Wisconsin study showed 12 crimes on average or more

'

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402
Case 2:90-cv-00520-KJM-SCR Document 3149-1 Filed 10/30/08 Page 13 of 47

i excluding drug crimes --
2 A The Wisconsin study is exactly the same
3 methodology as the Rand Stucy.
4 Q. I'm sorry, sir, you just told me you hadn't
5 read it so how do you know that?
6 A I said I'm Familiar with it, I'm familiar with
7 the study; but have I read it, no. But Diluiio did a
8 number of studies, Wisconsin is one and I probably know
9 some other ones. Then there came the Rand methodology
10 which is interviewing prisoners at the reception centers
il and asking them how many crimes did you commit in the
12 12 months before you came to prison. And they basically
13 all show the same kinds of patterns.
14 The average is somewhere between 10 and 15.
15 It's skewed dramatically toward a very small number of
16 people who are saying I committed 100 to 200 crimes per
17 year. Most of the people are reporting zero to three
18 crimes per year. That's what they all say.
19 Qo What I'm asking you is: Are you aware of any
30 data which would show that the number of crimes they
21 commit per year after they leave prison is any lower
22 than the self-reported number of crimes they committed
23 before they got to prison in that study?
24 A There's been no studies of that, but I --

25 ° But you assume that they're lower and --

403

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Case 2:90-cv-00520-KJM-SCR Document 3149-1 Filed 10/30/08 Page 14 of 47

wo

that?

- population is much older, like 35 or 36, that's the

A No, I didn't --

OD -~- I'm asking you on what basis you assume

A ‘I'm not assuming that. All I said was that I
was giving you an example which is important that their
arrest rate is significantly lower after prison than it
was than before they came to prison.

o Is it possible that that's because they're
better at it now since they have been to prison?

A Well, that would be your theory, not mine.
Tt's an interesting theory. And we also Know, again,
most of the arrests are not being committed by people
released from prison. We also know that maturation is 4
huge factor. Most criminals burn out and slow down with
age. And in terms of the average arrestee population,
prisoners are a much older class of people. It's pretty
well-known in criminology --

° I'm sorry, the average arrestee what?

A The average age for a prisoner versus the

average arrestee of the arrest population, the prisoner

average age of people coming out of the California
prison system. Most of the people arrested in the
country are in the age groups cf 15 to 25. So the

prisoners are a much older group and they’re longer

404

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Case 2:90-cv-00520-KJM-SCR Document 3149-1 Filed 10/30/08 Page 15 of 47

along in their career. And that's why age is such a
strong predictor of future criminality.

° So 35 to 36 is the average age, and yet we
still have a 70 percent recidivism rate?

A You're using percent rather than rate. It's
rate of arrest versus percent. Percent would be -- you
can have high percents, which you do have, 60 percent of
the people getting released get rearrested. But if you
took all those arrests and gave me an average, average
per prisoner; and you took that average arrest rate
before they came, you're going to see about a 50 percent
drop. Their rate of arrest has decreased significantly.
So if you look at arrests, they're not getting worse,
they're actually getting better, they're slowing down,
which is the maturation effect and also the effect of
punishment and deterrents and programs and all that
stuff that's going on. = mean, you should know that
most prisoners don't come back to prison except in
California.

9 Well, What I guess I'm trying to get at is you
state in your report of September 25, 2008, marked as
Exhibit 10, in Paragraph 1 to the section which ig a
rebuttal to the September 15, 2008 report of
Jerry Dyer the following:

"Mr. Dyer's estimate of 16,005 new

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1 Berlious crimes rests on two fundamental

2 errors, one, he is mistaken when he

3 assumes that there will be 1,920 new

4 releases; and two, he is mistaken when

5 he assumes that 70 percent of those or

6 1,344 will each commit 12 crimes before

F they are arrested."

8 A Correct.

9 Q And I'm asking you to tell me on what basis do

10 you believe that he is mistaken about the number of
11 crimes they will commit before being rearrested?
12 . A He has not basis for it.
13 Q Where is the study that you have that shows
14; he's wrong?
14 A Well, if I wanted to use a study, I would use
16 the Rand Study.

17 QO That said what?
18 A That not 70 percent, but maybe about 10 or 20
19 percent of the people are those committing a high rate
90 |. of crime, most of the people are not committing. And
2] that would be wrong to do that because that was based on
22 prison admissions, not prison releases. So my
33 statements are that he's mistaken because there's
4 nothing to back up his statistics.

25 Q So once they have been to prison, they're less

406

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Case 2:90-cv-00520-KJM-SCR Document 3149-1 Filed 10/30/08 Page 17 of 47

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you commit. And if he found that 70 percent of these

likely to reoffend; is that what you are saying?

A AS an aggregate group, yeah, an aggregate
group of prisoners, they are slowing down, no question
about that. But I hope you understand my point that he
is putting these statistics out there and they're not
referenced and they're not cited. So he's mistaken in
his -- there's nothing behind this.

Q Well, I think that's your assumption, but I'm
not asking you to tell me what you think about
Mr. Dyer's report, what I'm asking you to tell me is
where is the data that tells you how many crimes would
be committed by the 1,920 people that would be released
LE you assume the numbers that Jerry Dyer assumes?

A I look at that as his burden. If he's doing
Statistics like this, he would have to cite, first of
all, the basis for his analysis. That's the number one
thing that if you're going to put any kind of statistics
out there, you have to have a reference to this. So
either he conducted a study himself where he followed
people who came into Fresno County and he interviewed

them and asked them after 12 months how many crimes did

people committed an average of 12 crimes, then he has
something that's factually correct. Right now he's just

putting numbers out there that have no factual basis

407

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Case 2:90-cv-00520-KJM-SCR Document 3149-1 Filed 10/30/08 Page 18 of 47

1 whatsoever, they're not referenced. So this is like

2 basic research. If you cite anything like this, you

3 have to cite the basis for it, some type of study.

4 Q Can you cite to me any research that would

5 show you that Mr. Dyer's numbers are wrong?

6 A That's not my burden, he's the one who is

7 putting out there --

8 0 Sir, T didn't ask you what his burden was, I'm
9 asking you --

10 A Well, that's --

41 |- Q -- Can you cite to me any research that would
12 show his figures are wrong?

13 A T would go back to the Rand Study. And just
14 pased on that, you could say the Rand Study would

15 suggest he's wrong.

16 QO Tell me what about the Rand Study would

17] suggest he's wrong. Where is the average that shows

18 that prisoners released from prison do not commit some
19 crimes before they get rearrested? Let's start with

20 that.

21 MS. EVENSON: Objection. Vague. Mischaracterizes
22 the testimony.

23 THE DEPONENT: Repeat the question.

24 | Q BY MS. BARLOW: All right. Let me ask you a

25 different way. You said earlier that each time you

408

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1 commit a crime, you have a 10 percent chance of being

2 arrested ---

3 A No, that's --

4} Q -- g0 each arrest of & prisoner on parole, can
5 we assume from that 10 percent chance that that means

6 they committed more than one crime before they got

7 arrested?

8 MS. EVENSON: Objection. Mischaracterizes the

9 cestimony.
10 |- THE DEPONENT: Yeah, I just want to go back to -- I
- jl didn't say what you just said. I said that the number
13 of arrests to reported crimes, certain crimes, is about
13 ten to one. That does not mean -- because you're doing
14 what is called an ecological fallacy. You're ascribing
15 these overall rates to individual people. So when we
16 talk about reported crimes and arrests, that's the whole
17 pool. And that's mostly nonprisoners we're talking
18 about, nonrelease prisoners. And that's my point here.
19 He's looking at, we're looking at, I'm locking at a very
20 small group of the arrest population, released
2 prisoners. We demonstrated that. Exprisoners
22 constitute a very small part of the arrest universe.
23 Qo BY MS. BARLOW: Okay. What Iim asking you,
94 Dr. Austen, is where is the study that shows how many

25 crimes were committed by those exprisoners before they

409

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Case 2:90-cv-00520-KJM-SCR Document 3149-1 Filed 10/30/08 Page 20 of 47

1| were arrested?
9 A There are no studies.

“Oo So what is the basis for your assumption that
4 Mr. Dyer is incorrect that prisoners released from
5 prison will commit more crimes than they actually get

6 arrested for?

7 MS. EVENSON: Objection. asked and answered.

8 THE DEPONENT: TI believe I answered that.

9 Qo BY MS. BARLOW: Well, you said there is no

10 study.

11 |} - A But he's giving statistics; so how could he be

12 accurate on something that has no scientific basis?
13 oO I'm not asking about his numbers? I'm asking
(144. where your data comes from. What data do you have to

15 support your position that he is incorrect?

16 A He is mistaken --
17 MS. EVENSON: Asked and answered.
18 Q BY MS. BARLOW: Just the Rand Study is all you

19 have?

20 A No, we'll go into it some more, but, I mean,
21 the 1,920 new releases, that's factually incorrect.

22 Q Okay. Let's stick with the questions I'm

23 asking instead of the ones you want mé to ask. Right
24 now I'm asking you about the number cf offenses that

25 would be committed by a releasee before they're

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Case 2:90-cv-00520-KJM-SCR Document 3149-1 Filed 10/30/08 Page 21 of 47

mentioned that with respect to this issue.

rearrested,
A Okay.
° So other than the Rand Study, what data do you

have that you believe would show that Mr. Dyer's numbers
are incorrect?

MS. EVENSON: Objection. Asked and answered.

MS. BARLOW: = have not heard anything but the
Rand study. If there's some other one, I would like to
hear about it.

MS. EVENSON: We've talked about the National
Academy of Sciences study that looked at the Rand Study.
There have been several --

MS. BARLOW: He didn't mention -- he hasn't

MS. EVENSON: It's all the same issue.

MS. BARLOW: No, it isn't the same issue.

THE DEPONENT: Well, I guess I would just say again
that there's a great deal of scientific evidence that
Since he is using that prisoners when they are released
from prison are not committing crime at the same rate as
when they are admitted to prison. And he is using, I
think, the Rand Study to come up with the 12 crimes, and
the 12 crimes in the Rand Study actually said they
commit -- not before they are arrested, they're getting

arrested, but they're committing 12 crimes. And the

411

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Case 2:90-cv-00520-KJM-SCR Document 3149-1 Filed 10/30/08 Page 22 of 47

] Rand Study I don't think said about how many arrests are
2 part of that pool, but they came up with an average of

3 12 crimes per year.

4 Q BY MS. BARLOW: So the studies that you're

5 referring to, the scientific evidence that shows that

6 they're committing crimes at a lower rate after they're
7 released from prison than they were before they went

g into prison, what rate are they committing crimes,

9 according to those studies, the people who recommit?

10 A Well, it varies on the study. You have to

1] look at the individual studies and you have to look at

12 the arrest rate before they came to prison and the
13 | arrest rate after they left prison.
14 Qo . iim sorry, Dr. Austin, I'm not trying to make

15 this any harder than it needs to be --

16 A Well, I'm not trying to be defensive either.
17 o I asked earlier if you were aware of any
18 studies that had studied the -- how many crimes were

19 committed by post-release prisoners before they were

20 rearrested and you said there were not any. .

21 A There are none.
23 Q And now you're telling me there are some.
. 23 A No, I said none -- no studies that look at the

24 number of crimes being committed by released prisoners.

95 There are no --

412

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Case 2:90-cv-00520-KJM-SCR Document 3149-1 Filed 10/30/08 Page 23 of 47

1 Q Okay. So what is the scientific --

2 A Ma'am, can I finish what I --

3 Q You can't have --

4 A I haven't answered the question. There are no-
5 studies, but Mr. Dyer is somehow saying there are some

6 studies.

7 9 That isn't the question I asked you. You said
8 there were not any, but then you just testified that

9 there's a great deal of scientific evidence that shows

10 that when they are released from prison, they are not

il committing crimes at the same rate.

12 A I did not say that. And if I said that, then
13 I was mistaken. I said the arrest rate is lower when

14 they get reieased from prison than before they entered
15 prison.

16 Q The arrest rate is lower, but you have no way
17 | of knowing whether the number of crimes they commit

18 before they get rearrested is higher or lower than

19 before they were arrested the first time?

20 A That's correct because there have been no such
21 studies.

3? Q That's all = needed to hear. Now, eariier you
23 wanted to talk about Mr. Dyer's assumption of his 1,920

24 new releases. Can you tell me what you think is wrong

25 with that figure?

413

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Case 2:90-cv-00520-KJM-SCR Document 3149-1 Filed 10/30/08 Page 24 of 47

1 A It's too high.
3 oO Based on what?
3 A I presented that math in my previous

4 deposition, but basically --

5 Oo Well, I'm sorry, but --
6 A I know, but just for your benefit. Basicaily
7 in Fresno County, he's looking at the number of people

that are going to come out in a year. And he's assuming

oO

9 | there's going to be a whole doubling of that group
10 1,920. If you look at our policy of reducing the length
1] of stay, it's only for a short period of time that you
12 have an increase in the releases, which I think is about
13 500 for the year, and then after that, after that is

14.| accomplished, then the number of releases is exactly the
15 same as it is today. So he's creating --

16 mathematically, he's incorrect. There are not going to
17 be 1,920 new releases coming out of Fresno County.

18 o Well, he was basing that number on some
-19 assumptions about the total numbers to be released,

20 correct?

21 A Yeah, in my report on August 15, there's a

22 table that shows the estimate would be an additional 500
23 to 600. And under the policy that I described, there's
24 no way that it could be mathematically 1,920 new

25 releases -~-

414

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Case 2:90-cv-00520-KJM-SCR Document 3149-1 Filed 10/30/08 Page 25 of 47

1 that have a high incarceration rate and a low crime
2 rate. I can't name them, but you can find them. But in
3 general, there's not that relationship.

4 Q You can't mame what those states are sitting

5 here?

6 A No, I can't.
7 Q And where would I go to find that out?
8 A You go to the Bureau of Justice Statistics and

9 chey will have a report called prisoners, whatever years
10 |- you want to pick. And that will show the incarceration
dl rate for every state. And then you can go to the

12 Uniform Crime Reports and they'll give you the crime

13 rates for every state. And you do a comparison. I did
14 a correlation coefficient, which I reported in my first
15 report, which showed there was no statistical

16 relationship. But if you get those two lined up, you

17} will see variations in that. And if you were to plot

18 the states' crime rates and incarceration rates, you

19 will see some states that are in this quadrant high

20 incarceration rate and low crime rate. In other states
21 you will see the opposite, low incarceration -- but if
22 you look at the overall pattern, which is what the

23 correlation gives you, that's the conclusion I reached.
94 O With respect to Exhibit 10, it was on a ~- the

O5 draft of it was maintained on the web server?

483

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Case 2:90-cv-00520-KJM-SCR Document 3149-1 Filed 10/30/08 Page 26 of 47

1 A Yes.

2 ° That plaintiff's counsel maintains; is that

3 correct?

4 A Yes.

5 0 Did you input the first version of that draft
6 on that web server or --

7 A Yes, I did.

8 9 Okay. So you wrote the first draft of this

9 report?

10 LA Yeah, there was probably -- yes, I wrote this,
1] yes, this is my writing.

12 Q It talked about a Texas report you did -- you
13 did the Texas report in 1999; is that correct?

‘14 it. A Yes.

15 Q And you picked one month September in 1999

16 to extrapolate from that one month about how many

171 parolees -- strike that.

18 You took that one month September of 1999 to
19 extrapolate for the entire year of 1999 regarding what
20 percentage of arrests was accounted for by parolees?

21 . A Correct.

39 QO Was that month representative of the other

23 months of the year?

24 A Yes.

25 Q How did you determine that?

484

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Case 2:90-cv-00520-KJM-SCR Document 3149-1 Filed 10/30/08

Page 27 of 47

DEPOSITION OFFICER'S CERTIFICATE
[C.C.P. 2025 (g) (1), ¢r)]

STATE OF CALIFORNIA }
55

COUNTY OF LOS ANGELES )

7

“sy

JULIE SEYMOUR, Certified Shorthand

:

Reporter, Certificate No. 12341, State of California,
hereby certify:

Loam the deposition officer that
stenographically recorded the testimony in the foregoing
deposition;

Prior toa being examined, the deponent was by
me administered an oath in accordance to CCP 2094;

The foregoing transcript is a true record of

the testimony given:

The deposition officer was relieved of her
duty pursuant to the Code of Civil Procedure, Section
2025(q) (iy; and therefore, any changes made by the
deponent or whether or not the deponent signed the

transcript are not herein set forth.

, Los Angeles, California.

OCT 3 & 2008
Dated: wee “

La Koen nane

JULIE SEYMOUR, CSR NO. 12341]

HAHN & BOWERSOCK (800) 660-3187

Case 2:90-cv-00520-KJM-SCR Document 3149-1 Filed 10/30/08 Page 28 of 47

EXHIBIT B
tat

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Case 2:90-cv-00520-KJM-SCR Document 3149-1

Filed 10/30/08 Page 29 of 47

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Attorneys for Plaintiffs

RALPH COLEMAN, et al.,
Plaintiffs,

¥S.

Defendants

ARNOLD SCHWARZENEGGER, et al.,

IN THE UNITED STATES DISTRICT COURTS
FOR THE EASTERN DISTRICT OF CALIFORNIA
AND THE NORTHERN DISTRICT OF CALIFORNIA
UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE

) Noa. Civ § 90-0520 LiKK-JFM P
}
) THREE-JUDGE COURT

See

MARCIANO PLATA ,et al., ’
Plaintiffs,

V8.

Defendants

ARNOLD SCHWARZENEGGER, et al.,

THREE-JUDGE COURT

)
)
)
)
) No. C01-1351 TEH
)
) PLAINTIFFS’ RESPONSE TO LAW
)
)
)

ENFORCEMENT INTERVENORS'

AM ENDED NOTICE OF DEPOSITION OF
DR uate AND REQUEST FOR
PRODUCTION OF DOCUMENTS

PLAINTIFFS: RESPONSE TO LAW ENFORCEMENT INTERVENORS' AMENDED NOTICE OF DEPOSITION OF DR. AUSTIN AND REQUEST
FOR PRODUCTION OF DOCUMENTS, NOS.: CIV § 90-0520 LKK-JFM, COE-1351 TEA

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Case 2:90-cv-00520-KJM-SCR Document 3149-1 Filed 10/30/08 Page 30 of 47

PROPOUNDING PARTY: law enforcement intervenors

RESPONDING PARTY: PLAINTIFFS on behalf of Plaintiffs’ expert Dr. James Austin
Plaintiffs, on behalf of Plaintiffs’ expert Dr. James Austin, hereby object to defendants’

notice of deposition because it fails to provide reasonable notice as required by F.R.C.P. 30

and provides insufficient time for production of documents as required by F.R.C.P 30 and 34.

RESPONSES TO REQUESTS FOR PRODUCTION

REQUEST FOR PRODUCTION NO. 1:

Any documents, records, or other materials reviewed in preparing Mr. Austin's rebuttal

report.
RESPONSE TO REQUEST FOR PRODUCTION NO. 1:

Plaintiffs object to this Request as vague and ambiguous, and overbroad. Subject to and
without waiving the above objections, Plaintiffs will produce responsive, non-privileged, and
unobjectionable documents not previously produced.

REQUEST FOR PRODUCTION NO, 2:

Any documents, records, or other materials reviewed but not cited in preparing Mr.

Austin's rebuttal report.

RESPONSE TO REQUEST FOR PRODUCTION NO. 2:

Plaintiffs object to this Request as vague and ambiguous, and overbroad. Subject to and
without waiving the above objections, Plaintiffs will produce responsive, non-privileged, and
unobiectionable documents not previously produced.

REQUEST FOR PRODUCTION NO. 3:

Any communications with counsel for Plaintiffs relating to Mr. Austin’s rebuttal report.

RESPONSE TO REQUEST FOR PRODUCTION NO. 3:

Plaintiffs object to this Request as vague and ambiguous, and overbroad. Subject to and
without waiving the above objections, Plaintiffs will produce responsive, non-privileged, and

unobjectionable documents not previously produced.

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PLF RESP TO LAW ENF INTERVENORS' DEP NOT OP AUSTIN, REQ FOR PROD OF DOCS, NOS.: CIV $ 90-0520 LKK-JFM, CO1-1351 TEH

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Case 2:90-cv-00520-KJM-SCR Document 3149-1 Filed 10/30/08 Page 31 of 47

REQUEST FOR PRODUCTION NO. 4:

The entire file containing all of your work produced, prepared, and/or created in

forming your opinions in this matter.

RESPONSE TO REQUEST FOR PRODUCTION NO. 4:

Plaintiffs object to this Request as vague and ambiguous as to "this matter," and
potentially overly broad and unduly burdensome. Plaintiffs further object to the extent that the
request seeks documents subject to the mediation or settlement privileges. Plaintiffs will
interpret this Request to include only responsive materials that are related to responding party's
expert opinions in the Three-Judge Court proceedings in Coleman v, Schwarzenegger and
Plata v. Schwarzenegger.

Subject to and without waiving the above objections, Plaintiffs will produce responsive,
non-privileged, and unobjectionable documents not previously produced.

REQUEST FOR PRODUCTION NO. 3:

All reports, drafi reports, and related documents in connection with your opinions in this

case,

RESPONSE TO REQUEST FOR PRODUCTION NO. 5:

Plaintiffs object to this Request as vague and ambiguous as to "this case," and
potentially overly broad and unduly burdensome. Plaintiffs further object to the extent that the
request secks documents subject to the mediation or settlement privileges. Plaintiffs will
interpret this Request to include only responsive materials that are related to responding party's
expert opinions in the Three-Judge Court proceedings in Coleman v. Schwarzenegger and
Plata v. Schwarzenegger.

Subject to and without waiving the above objections, Plaintiffs will produce responsive,
non-privileged, and unobjectionable documents not previously produced.

REQUEST FOR PRODUCTION NO. 6:

All documents relating to any communication (i.e., letters, handwritten notes of

conversation, faxes, emails, text messages, etc.) between you and counsel for the Coleman

-2-

PLF RESP TO LAW ENF INTERVENORS' DEP NOT OF AUSTIN, REQ FOR PROD OF DOCS, NOS.: CTV § 90-0520 LKK-JFM, C0]-1351 TEH

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Case 2:90-cv-00520-KJM-SCR Document 3149-1 Filed 10/30/08 Page 32 of 47

Plaintiffs, agents of counsel for the Co/eman Plaintiffs, the Coleman Plaintiffs’ attorney and

their agents, or any other person related to this litigation.

RESPONSE TO REQUEST FOR PRODUCTION NO. 6:

Plaintiffs object to this Request as vague and ambiguous as to "this litigation," and
potentially overly broad and unduly burdensome. Plaintiffs further object to the extent that the
request seeks documents subject to the mediation or settlement privileges. Plaintiffs will
interpret this Request to include only responsive materials that are related to responding party's
expert opinions in the Three-Judge Court proceedings in Coleman v. Schwarzenegger and
Plata v. Schwarzenegger.

Subject to and without waiving the above objections, Plaintiffs have previously
produced all responsive, non-privileged, and unobjectionable documents.

REQUEST FOR PRODUCTION NO. 7:

All documents relating to any communication (i.¢., letters, handwritten notes of
conversation, faxes, emails, text messages, etc.) between you and counsel for the Plata
Plaintiffs, agents of counsel for the Plata Plaintiffs, the Plata Plaintiffs’ attorney and their
agents, or any other person related to this litigation.

RESPONSE TO REQUEST FOR PRODUCTION NO, 7:

Plaintiffs object to this Request as vague and ambiguous as to "this litigation,” and
potentially overly broad and unduly burdensome. Plaintiffs further object to the extent that the
request seeks documents subject to the mediation or settlement privileges. Plaintiffs will
interpret this Request to include only responsive materials that are related to responding party's
expert opinions in the Three-Judge Court proceedings in Coleman v. Schwarzenegger and

Plata v. Schwarzenegger.

Subject to and without waiving the above objections, Plaintiffs will produce responsive,

non-privileged, and unobjectionable documents not previously produced.

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PLF RESP TO LAW ENF INTER VENORS' DEP NOT OF AUSTIN, REQ FOR PROD OF DOCS, NOS.: CIV § 90-0520 LKK-JFM, CO1-1351 TEH

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Case 2:90-cv-00520-KJM-SCR Document 3149-1 Filed 10/30/08 Page 33 of 47

REQUEST FOR PRODUCTION NO. 8:

Produce all documents, publications, reports, notes, or other items of evidence which

were reviewed, examined, considered, used or relied upon by you in forming an expert opinion
in this litigation.

RESPONSE TO REQUEST FOR PRODUCTION NO. 8:

Plaintiffs object to this Request as vague and ambiguous as to "this litigation,” and
potentially overly broad and unduly burdensome. Plaintiffs further object to the extent that the
request seeks documents subject to the mediation or settlement privileges. Plaintiffs will
interpret this Request to include only responsive materials that are related to responding party's
expert opinions in the Three-Judge Court proceedings in Coleman v. Schwarzenegger and

Plata v. Schwarzenegger.

Plaintiffs further object to this Request to the extent that it calls for the production of
documents that are equally available to Defendants or are already in Defendants’ possession.
The documents relied upon by the expert are listed in the expert’s reports and Plaintiffs will
produce only those documents that are not equally available to Defendants or are not already in

Defendants’ possession.

Subject to and without waiving the above objections, Plaintiffs will produce responsive,

| non-privileged, and unobjectionable documents not previously produced.

| REQUEST FOR PRODUCTION NO. 9:

All documents or other items of evidence reviewed but not relied upon by you in
forming any opinion in this litigation.

RESPONSE TO REQUEST FOR PRODUCTION NO. 9:

Plaintiffs object to this Request as vague and ambiguous as to "this litigation,” and
potentially overly broad and unduiy burdensome. Plaintiffs further object to the extent that the
request seeks documents subject to the mediation or settlement privileges. Plaintiffs will

interpret this Request to include only responsive materials that are related to responding party's

4.

PLF RESP TO LAW ENF INTERVENORS' DEP NOT OF AUSTIN, REQ FOR PROD OF DOCS, NOS.; CIV S$ 90-0520 LEK-JFM, C01-1351 TEH

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Case 2:90-cv-00520-KJM-SCR Document 3149-1 Filed 10/30/08 Page 34 of 47

expert opinions in the Three-Judge Court proceedings in Coleman v. Schwarzenegger and
Plata v, Schwarzenegger,

Plaintiffs further object to this Request to the extent that it calls for the production of
documents that are equally available to Defendants or are already in Defendants’ possession.
The documents relied upon by the expert are listed in the expert’s report and Plaintiffs will
produce only those documents that are not equally available to Defendants or are not already in
Defendants’ possession.

Subject to and without waiving the above objections, Plaintiffs will produce any
responsive, non-privileged, and unobjectionable documents not previously produced.

REQUEST FOR PRODUCTION NO. 10:

- All documents or other items of evidence which demonstrate that a prisoner release

order will not cause any negative impacts to [sic] public safety in the State of California or in

any city or county thereof.

RESPONSE TO REQUEST FOR PRODUCTION NO. 10:

Plaintiffs object to this Request as overbroad and unduly burdensome in that it is not

limited to materials that are in Deponent’s possession, custody, or control, or that are related to
this action, and calls for the production of materiais that are outside the scope of the
Deponent’s expert report and for materials that were not relied on or consulted in the forming
of his expert opinion. Plaintiffs will reasonably interpret the Request as calling for only those
documents that are in Deponent’s possession, custody, or control, and that are related to
responding party's expert opinions in the Three-Judge Court proceedings in Coleman v.
Schwarzenegger and Plata v. Schwarzenegger.

Subject to and without waiving the above objections, Plaintiffs will produce any

responsive, non-privileged, and unobjectionable documents not previously produced.

5.

PLF RESP TO LAW ENF INTERVENORS' DEP NOT OF AUSTIN, REQ FOR PROD OF DOCS, NOS.; CHV $ 90-0520 LEK-JPM, CO1-135) TEH

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Case 2:90-cv-00520-KJM-SCR Document 3149-1 Filed 10/30/08 - Page 35 of 47

REQUEST FOR PRODUCTION NO. 11:

All documents or other items of evidence which demonstrate that no other remedy will
remedy Defendants’ failure to provide constitutionally adequate mental health care.

RESPONSE TO REQUEST FOR PRODUCTION NO. 11;

Plaintiffs object to this Request as vague and ambiguous as to "other remedy" and 1s

overly broad and unduly burdensome as it is not narrowed to any particular timeframe, not
limited to materials related to this action, and not limited to materials that are in Deponent’s
possession, custody, or control. Plaintiffs will reasonably interpret the Request as calling for
only those documents that are in Deponent’s possession, custody, or control, and that are
related to responding party's expert opinions in the Three-Judge Court proceedings in Coleman
v. Schwarzenegger and Plata v. Schwarzenegger.

Subject to and without waiving the above objections, Plaintiffs have previously
produced all responsive, non-privileged, and unobjectionable documents.

REOUEST FOR PRODUCTION NO. 12:

Produce any and all charts, graphs, exhibits, documents or other items of evidence you

intend to use as demonstrative evidence in this matter.

RESPONSE TO REQUEST FOR PRODUCTION NO. 12:
Plaintiffs object to this Request to the extent that it seeks materials protected by the

work-product doctrine. Plaintiffs object to this Request as overbroad and unduly burdensome
because it requests materials beyond the scope of the materials Deponent relied on or

considered in forming his opinions on this matter.

Plaintiffs further object that this request prematurely seeks materials that have not yet
been developed; to the extent responsive materials are developed and need to be disclosed for
use at trial, plaintiffs will disclose them at an appropriate time pursuant to court order,

Subject to and without waiving the above objections, Plaintiffs respond that they have

produced al! responsive material that exists as of the date of this response.

-6-

PLP RESP TO LAW ENF INTERVENORS' DEP NOT OF AUSTIN, REG FOR PROD OF DOCS, NOS.: CIV $ 90-0520 LEK-JFM, CO1-1351 TEH

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Case 2:90-cv-00520-KJM-SCR Document 3149-1 Filed 10/30/08 Page 36 of 47

/ Dated: October 9, 2008 Respectfully submitted,
PRISON LAW OFFICE

By: /si Rebekah Evenson
Rebekah Evenson

Prison Law Office

Attorneys for Plaintiffs

-7-

PLF RESP TO.LAW ENF INTERVENORS' DEP NOT OF AUSTIN, REQ FOR PROD OF DOCS, NOS.: CIV § 90-0520 LKK-JFM, C01-1351 TEH

Case 2:90-cv-00520-KJM-SCR Document 3149-1 Filed 10/30/08 Page 37 of 47
Case 2:90-cv-00520-KJM-SCR Document 3149-1 Filed 10/30/08 Page 38 of 47

Rebekah Evenson

From: Asstin@saol.com

Sent: Sunday, October 12, 2008 7:36 AM
To: revenson@prisoniaw.com
Subject: Fwd: MyFax Delivery from NA

Attachments: NA_084012_ 123756192. pdf

Cover sheet for the Texas report

James Austin, Ph.D.
The JFA Insitute

5 Walter Houp Court, NE
Washington, DC 20002

310-867-0569 cell/office”
202-280-1157 fax

From: NoReply@MyFax.com

To: asstin@aal,corm

Sant: 10/12/2008 $:37:51 A.M. Eastern Daylight Time
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10/13/2008
Case 2:90-cv-00520-KJM-SCR Document 3149-1 Filed 10/30/08 Page 39 of 47

EXHIBIT D
Case 2:90-cv-00520-KJM-SCR Document 3149-1 Filed 10/30/08 Page 40 of "5 )

‘Sofia Millham

From: Amy Whelan

Sent: Sunday, November 04, 2007 5:07 PM
To: Asstin@aol.com

Ce: Coleman Team - RBG Only

Subject: Coleman Case

Importance: High
Attachments: Topics for James Austin Report, 11-9-07, 489 ovr pleadings.doc

Jim,
Here are some topics for you to consider.

Amy Whelan, Esq.

ROSEN, BIEN & GALVAN LLP

315 Montgomery Street, Tenth Floor
San Francisco, CA 94104
Telephone: 415/433-6830

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awhelan@rbg-law.com

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11/6/2007
Case 2:90-cv-00520-KJM-SCR Document 3149-1 Filed 10/30/08 Page 41 of 47

JAMES AUSTIN

EXPERT QUALIFICATIONS

1. L received my Ph.D. in sociology from the University of California at Davis
in 1980. I also hold a Master of Arts degree in sociology from De Paul University in
Chicago, Illinois, which I obtained in 1975, and a Bachelor of Arts im sociology from
Wheaton College in Wheaton, Illinois, which I obtained in 1970. I am currently the
President of JFA Institute, a non-profit corrections consulting firm that works in
partnership with federal, state and local government agencies to implement more
effective criminal justice policies. My complete academic and professional experience is

set forth more fully in my Curricula Vitae, which ts attached as Exhibit A.

2. I have been involved in correctional planning and research for more than
25 years. From 1970 to 1974, 1 worked as a correctional sociologist in the [imois
Department of Corrections. From 1974 to 1982, | was a research associate at the
National Council on Crime and Delinquency in San Francisco. Beginning in 1982, I
became the Executive Vice President of the National Council on Crime and Delinquency
and continued in that post until 1998. Between 1999 and 2003, I was a research .
Professor in the Department of Sociology at the George Washington University m
Washington, D.C., where I was also the Director of the “Institute for Crime, Justice and

Corrections.” Since founding the JFA Institute in 2003, I have also acted as its President,

3, In my current position, | and my staff evaluate criminal Justice practices
and design research-based policy solutions in a variety of areas including prison
population simulation modeling and projections, offender risk assessment and
classification systems, parole and probation guidelines, and special needs programs
evaluation, including mental health programs. In 1991, I was named by the American
Correctional Association as the recipient of the Peter P. Leyin’s Research Award for my

work onf__}. In 1999, L received the Western Society of Cnminology Paul Tappin
Case 2:90-cv-00520-KJM-SCR Document 3149-1 Filed 10/30/08 Page 42 of 47

award for outstanding contributions in the field of criminology. From 1999 to 2003, I

served as Chair of the National Policy Committee for the American Society of
Criminology.

4. Lam currently serving as the director for several large research and
evaluation programs, including the Justice Reinvestment Initiative, funded by the Council
of State Governments, and the Correctional Options Program, funded by the Bureau of

Justice Assistance (BJA), a division of the U.S. Department of Justice.

5. I have extensive experience working with correctional systems
experiencing crowding and population-related challenges. 1 am currently working in the
states of Maryland, Nevada, Texas, Rhode Island, Connecticut, Arizona, Pennsylvania,
and Louisiana to safely reduce their prisons populations. In 1981 and 1986, I served on
the National Academy of Sciences National Panels on Sentencing and Prison
Overcrowding. I was appointed to the Governor’s Task Force on Prison Crowding for
Nevada in 1991. In 1996, I was retained by the Colorado Department of Corrections to

evaluate the impact of crowding at the Colorado maximum security prison.

6. I have served as an expert or consultant to various federal courts and
correctional systems. I was jointly appointed by the Department of Justice and the
Georgia Department of Juvenile Justice and the Louisiana Department of Youth Services
to monitor those states’ compliance with a Memorandum of Agreement concerning the
conditions of confinement in Georgia’s youth facilities. I have also been a consultant for
the National Institute of Corrections on jail and prison classification systems. In that
capacity, | have assisted more than 25 states and numerous jail systems to develop and
implement objective prisoner classification systems. Currently, | am working with parole
boards to develop risk assessment systems for prisoners eligible for release in Texas,

Pennsylvania, Kentucky, Maryland, Nevada, Rhode Island, West Virginia and Oklahoma.
Case 2:90-cv-00520-KJM-SCR Document 3149-1 Filed 10/30/08 Page 43 of 47

7. Between 1995 and 1997, I directed Congressionally-mandated evaluations
of the Washington, D.C. Department of Corrections operations, classification system,
staffing levels, and physical plant, and of the D.C. Departient of Youth Services Agency
operations, classification system, staffing levels, physical plant, mental health,

information services and program services.

8. L also have substantial experience specifically with the Cahfornia
correctional system. [add more of your experience in CA] In 2003, I served on the
Advisory Committee of the Little Hoover Commission, which produced a Report on the

California Prison System titled “Back to the Community: Safe & Sound Parole Policies.”

9. _- J was also recently invited to participate in the California Department of
Corrections and Rehabilitation’s “Expert Panel on Adult Offender Reentry and
Recidivism Reduction” (“Expert Panel”). The Expert Panel was created to complete two
primary tasks: (1) review the current programs being offered by the CDCR to its adult
_ offenders and comment on their effectiveness reducing recidivism and; (2) make
recommendations as to how the CDCR could improve its program offerings,
organizational culture, and environment to better reduce the adult offender recidivism
rate. I was one of several nationally recognized experts in the field of corrections who

studied these issues and produced a final report, which was published in June of 2007.

10. | The Expert Panel created two sub-committees to study recidivism and
reentry issues, including the “Program Review Sub-Committee” which reviewed the
current program offerings and the “Model Program Sub-Committee” which provided
recommendations to improve the current program offerings and the underlying systems in

which the programs operated. I was a member of the latter sub-committee.

11. One of the key conclusions that [ and the Expert Panel as a whole reached

was that the CDCR would have to address severe overcrowding before it had any hope of
Case 2:90-cv-00520-KJM-SCR Document 3149-1 Filed: 10/30/08 Page 44 of 47

reducing recidivism rates. The Panel also specifically concluded that building more

prisons could not be the solution to overcrowding.
12. Jam billing the plaintiffs $ an hour, my usual billing rate.

MY EXPERT OPINIONS IN THIS ACTION

13. | have been retained by plaintiffs’ counsel in the Plata and Coleman cases
ag an expert in prison administration and the impact of overcrowding on prisoners’
medical and mental healthcare. I have also been asked to render my opinion with respect
to whether overcrowding with California Department of Corrections and Rehabilitation
(CDCR) is the primary cause of the current unconstitutional conditions experienced by
members of the Coleman and Plata classes and whether the CDCR’s current strategies to

address overcrowding will be effective.

14. The opinions set forth in this declaration are based on my extensive
experience studying and researching correctional systems, including my recent work on
the Expert Panel, on my review of data and documents provided to me by plaintiffs’
counsel and on my visits to California State prisons, including, most recently, my expert

tour at CSP-Lancaster on November 2, 2007.

15. In preparation for this report, [ have reviewed the following documents
(among others): Governor Schwarzenegger, Prison Overcrowding State of Emergency
Proclamation (October 2006); Assembly Bill 900; CDCR, Fall Adult Population
Projections (October 2007); Office of the Inspector General, Special Review into In-
Prison Substance Abuse Programs Managed by the California Department of
Corrections and Rehabilitation (February 2007); the SEIU report entitled CDCR Reforms
for Safer Communities (March 2007); ..... A complete list of the documents provided to

me by plaintiffs’ counsel is attached as Exhibit B.
Case 2:90-cv-00520-KJM-SCR Document 3149-1 Filed 10/30/08 Page 45 of 47

16. This report is also based on documents and data that I received while

working on the Expert Panel on Adult Offender Recidivism Reduction Programs,

imcliding

History of Overcrowding in the California System

17. 1980's vs. now; sentencing laws; 3 Strikes; building boom; information

from new, Fall 2007 population projections.

Causes and Effects of Severely Overcrowded Systems

18. Define overcrowding

19. Understaffing, tensions, violence, illness, lockdowns, lack of

programs/yard, delays, focus only on pop management.
20. Inability to focus on individual needs / risk assessments

Indications of Overcrowding in the California System

21. Summarize Expert Panel conclusions re overcrowding
22. Constantly changing prison missions

23. Lack of office and work space

24. Lengthy delays for all types of care

25. Crowding increases demand for all services and reduces the provision /

availability of services
26. This Includes Medical & Mental Health Treatment/Programs
27.  Over-burdened staff
28. Lack of beds, including for mental health programs

California Will Be Unable to Deliver-Adequate Medical and Mental Healthcare -

Unless and Until it Addresses Prison Overcrowding

Case 2:90-cv-00520-KJM-SCR ‘Document 3149-1 Filed 10/30/08 Page 46 of 47

29. Conclusions from Expert Panel

30. Coleman Program Guide mandates the following timelines to transfer

inmates out of a prison:

Reception Centers: EOP transfers should occur within 60 days, or 30 days
if clinically indicated. CCCMS transfers should occur within 90 days, or
60 days if clinically indicated.

All Prisons: MHCB transfers should occur within 24 hours of referral.

Prisons without an EOP program: EOP transfers should occur within 60

days, or 30 if clinically indicated.

31. Program Guide requirements for EOP level of care: (1) EOP inmates are
housed in separate housing units and are provided with structured therapeutic activities.
Program Guide at 12-4-1; (2) Each EOP patient shall be offered at least 10 hours per

week of scheduled structured therapeutic activities. Program Guide at 12-4-8.

32. RC EOP Programs: On October 20, 2006, defendants were ordered to
implement a treatment program in 7 reception centers: CIM, DVI, SQ, NKSP, Wasco,
LAC and RJD. These programs are required to provide a minimum of 5 hours of
structured therapeutic programming, including pre-release planning. “These requirements
are not yet a part of the Revised Program Guide, but are reported on by the Special

Master and his court monitors.

33. Prior to that order, no EOP programming was provided at RCs at all.

Defendants’ Current Efforts te Address Overcrowding Will Not Be Effective
34, Building New Prisons.
35. Out of State Transfers.
36. Chronic and Severe Staffing Shortages.

37. Parole Reform.
Case 2:90-cv-00520-KJM-SCR Document 3149-1 Filed 10/30/08 Page 47 of 47

38. The CDCR’s Credit Earning System.
39, Education Programs.
40. Vocation and Job Programs.

4], Can expand on observations from your other declaration, including, for
example: “I do not have confidence that the state will be able to stabilize the growth of
the prison population or achieve any significant reductions in the prison population in the

next few years.” (Austin Decl. at 3:19-20)

42. “In my opinion, the state’s ‘plan’ to reduce overcrowding is not a plan, as
that term is normally understood. It is deficient in that there are no detailed supporting
documents, data analysis or timetables that show how the CDCR can meet the massive
and unprecedented construction timelines Defendants have set forth in their pleadings in
this case. As such, the State’s proposal is not a plan but a series of goals that have no
factual basis. The CDCR’s goals for construction and implementation of new programs

are not likely to be met.” (Austin Decl. at 3:13-18)

43. “There are many reasons besides the lack of detail to be skeptical that the
state will be able to meet its goals. In general, the state proposes four major initiatives to
reduce crowding: 16, 000 re-entry beds, 8,000 transfers to out-of-state private facilities,
8,000 medical and mental health beds, and 16,000-1 8,000 infill beds. With the exception
of the 8,000 transfers, none of these measures are designed to reduce the prison
population. Instead, if implemented, they will solely increase the physical capacity of the
prison system, and will require commensurate increases in staff, administration, and

program space.” (Austin Decl. at 3:23-4:2).
Conclusions
44. Is overcrowding the primary cause of constitutional violations?

45. Will any remedies other than a release order address the violations?
